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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                  Plaintiff,                    )              CASE NO.: 5:21-cr-259
                                                )
    v.                                                    JUDGE DONALD C. NUGENT
                                                )
 RONALD DIPIETRO,                               )     (REQUEST FOR ORAL ARGUMENT)
                                                )
                   Defendant.                   )


          DEFENDANT RONALD DIPIETRO’S MOTION TO DIMISS COUNT 8
                OF THE THIRD SUPERSECEDING INDICTMENT

         Now comes, Ronald DiPietro (“Mr. DiPietro”), by and through his undersigned counsel,

and respectfully moves this Court to dismiss Count 8, Evasion of Payment under 26 U.S.C. § 7201,

of the Third Superseding Indictment (Doc. No. 152) returned against him on information and belief

that Count 8 was brought after the expiration of the applicable six-year statute of limitations of 26

U.S.C. § 7201. See 26 U.S.C. § 6531(2). Therefore, pursuant to Fed. R. Crim. P. 12(b)(3)(B)(v),

Count 8 fails to state an offense and must be dismissed with prejudice. A brief in support of this

motion follows.

                                                      /s/ Robert J. Fedor
                                                      ROBERT J. FEDOR, ESQ., LLC
                                                      Robert J. Fedor (OH #0042653)
                                                      Benjamin C. Heidinger (OH #0089379)
                                                      23550 Center Ridge Road, Suite 107
                                                      Westlake, Ohio 44145
                                                      Tel: (440) 250-9709
                                                      Fax: (440) 250-9714
                                                      rjfedor@fedortax.com
                                                      bcheidinger@fedortax.com
                                                      Attorneys for Defendant Ronald DiPietro
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                                     BRIEF IN SUPPORT

                                         INTRODUCTION

       On June 23, 2022, in a Second Superseding Indictment, Mr. DiPietro was charged in Count

8 with Evasion of Payment, in violation of 26 U.S.C. § 7201. (Doc. No. 87) Later, on June 29,

2023, in a Third Superseding Indictment, Mr. DiPietro was again charged in Count 8 with the same

violation of 26 U.S.C. § 7201. (Doc. No. 152). Based upon the allegations in the Indictment,

undisputed facts, and the case law cited below, Mr. DiPietro moves to dismiss with prejudice Count

8, Evasion of Payment under 26 U.S.C. § 7201, in the Third Superseding Indictment pursuant to

Fed. R. Crim. P. 12(b)(3)(B)(v), on the grounds that Count 8 fails because it was brought after the

expiration of the six-year statute of limitations applicable to 26 U.S.C. § 7201. See 26 U.S.C. §

6531(2).

                                              FACTS

       Mr. DiPietro is an owner/operator of an accounting firm and a certified public accountant

(CPA). (Doc. No. 152, ¶ 6.B) The Indictment states that one of Mr. DiPietro’s co-defendants,

Christos Karasarides, Jr. (“Mr. Karasarides”), did not pay his taxes due and owing the IRS for the

years 2009-2014 and did not pay the additional income taxes that were assessed by the IRS after

an audit of his 2009 and 2010 tax returns. (Doc. No. 152, ¶¶ 5.A., 39, 40, 43)

       The IRS initiated collection efforts against Christos Karasarides on or about February 23,

2013. (Doc. No. 152, ¶ 41) Mr. DiPietro held an IRS Power of Attorney and represented Mr.

Karasarides administratively before the IRS relating to collection matters from the period June

2013 until November 17, 2015, when his representation was terminated. (Exhibit A, Pg. 42); (Doc.

No. 152, ¶¶ 49, 51)




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       Initially, an Indictment against Mr. DiPietro and three (3) other defendants was returned

on April 15, 2021. (Doc. No. 3) The other three (3) defendants named in the Indictment did not

include Mr. Karasarides. (Id.) In the initial Indictment, Mr. DiPietro was only charged with two

(2) counts of Aiding and Assisting in the Preparation and Presentation of False and Fraudulent

Income Tax Returns under 26 U.S.C. § 7206(2). (Id.)

       The Second Superseding Indictment was returned on June 23, 2022, and the Third

Superseding Indictment was returned on June 29, 2023. (Doc. Nos. 87, 152) The Second and Third

Superseding Indictments included additional defendants and returned additional charges against

Mr. DiPietro. (Id.) Additional charges under 26 U.S.C. § 7206(2) were included, as well as

different charges consisting of one (1) count of Conspiracy to Defraud the United States, 18 U.S.C.

§ 371, one (1) count of Operation of an Illegal Gambling Business, 18 U.S.C. § 1955, and one (1)

count of Evasion of Payment, 26 U.S.C. § 7201. (Doc. Nos. 87, 152).

       One of the defendants added in the Second Superseding Indictment was Mr. Karasarides,

who did not pay his taxes due and owing for the tax years 2009-2014 and did not pay the additional

income tax that was assessed by the IRS after an audit of his 2009 and 2010 returns. (Doc. No.

152, ¶¶ 5.A., 38, 39, 40, 43) Mr. Karasarides was charged in the Second and Third Superseding

Indictments with Evasion of Payment, 26 U.S.C. § 7201, relating specifically to this tax debt. (Doc.

Nos. 87, Count 7; 153, Count 7)

       Essentially, in this case, Mr. DiPietro is charged with evading payment of Mr. Karasarides’

several years of accumulated tax debt. (Doc. No. 152, ¶ 38) Ultimately, Mr. Karasarides did not

pay the tax debt which continues to accrue penalties and interest. And even though Mr. DiPietro

represented Mr. Karasarides before the IRS in collection matters until November 17, 2015,




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certainly Mr. DiPietro could not force his then client to make payments to the IRS. (Exhibit A, Pg.

42); (Doc. No. 152, ¶¶ 49, 51)

COUNT 8 OF THE THIRD SUPERSEDING INDICTMENT MUST FAIL BECAUSE ALL
ALLEGED AFFIRMATIVE ACTS RELATING TO ANY EVASION OF PAYMENT ARE
BEYOND THE STATUTE OF LIMITATIONS; THUS, ANY ALLEGED EVASION OF
PAYMENT IS OUTSIDE THE STATUTE OF LIMITATIONS.

                                      LAW AND ARGUMENT

   A. Legal Standard

       Federal Rule of Criminal Procedure 12(b)(3) states that certain defenses, objections, and

requests must be raised by pretrial motion if the basis for the motion is then reasonably available

and the motion can be determined without a trial on the merits. See Fed. R. Crim. P. 12(b)(3).

Under Fed. R. Crim. P. 12(b)(3)(B)(v), a motion to dismiss that asserts a failure to state an offense

is a defense that must be raised by pretrial motion. See Fed. R. Crim. P. 12(b)(3). Ordinarily, a

pretrial motion can be resolved if it raises “questions of law rather than fact.” United States v.

Jones, 542 F.2d 661, 664, (6th Cir. 1976).

       When reviewing a pre-trial motion to dismiss, the court will accept the facts alleged in the

indictment as true. See Boyce Motor Lines, Inc. v. United States, 342 U.S. 337, 343 n.16.

Additionally, the court is generally bound to consider only the evidence within the indictment. See

Winslow v. United States, 216 F.2d 912, 913 (9th Cir. 1954). Arguments directed at the merits of

the offenses must be left for trial; however, “… a district court may make preliminary findings of

fact necessary to decide the questions of law presented by pre-trial motion so long as the court’s

findings on the motion do not invade the province of the ultimate finder of fact.” United States v.

Jones, 542 F.2d at 664.




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   B. Count 8 Was Charged After the Statute of Limitations Had Expired

       Here, Mr. DiPietro moves this Honorable Court to read Count 8 with a practical sense

enriched by necessary implications. Furthermore, when utilizing the facts in the allegations, the

facts that are necessarily implied, and the necessary preliminary findings of facts that do not intrude

on the merits of the offense, this Honorable Court must recognize that November 17, 2015 is the

last possible date Mr. DiPietro could exercise an affirmative act in furtherance of any alleged

evasion of payment. (Exhibit A, Pg. 42); (Doc. No. 152, ¶¶ 49, 51)

       Taking the facts in the indictment as true, the Third Superseding Indictment states that as

of November 17, 2015, Mr. DiPietro did not hold a power of attorney, was not a representative

before the IRS for Mr. Karasarides, and had no agency whatsoever in the matter. (Exhibit A, Pg.

42); (Doc. No. 152, ¶¶ 49, 51)

       Count 8 of the Third Superseding Indictment charges Mr. DiPietro with a violation of 26

U.S.C. § 7201. (Doc. No. 152) Section 7201 is an attempt to evade or defeat a tax, and states that:

“[a]ny person who willfully attempts in any manner to evade of defeat any tax imposed by this

title or the payment thereof shall, in addition to other penalties provided by law, be guilty of a

felony ….” 26 U.S.C. § 7201. Section § 7201 is the pinnacle of all criminal tax offenses and harsh

penalties apply. It is a very serious offense, and thus, truly demands care to protect the

constitutional rights of the accused as well as the integrity of the law.

       Section 6531 of the Internal Revenue Code sets forth the period of limitation on criminal

prosecutions for the various offenses arising under the internal revenue laws. Pursuant to 26 U.S.C.

§ 6531(2), a limitation period of six (6) years applies to Section 7201. See 26 U.S.C. § 6531(2);

see also United States v. Habig, 390 U.S. 222, 223 (1968).




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       Mr. DiPietro is charged with one (1) count of evasion of payment under 26 U.S.C. § 7201.

(Doc. No.152, Count 8) Specifically, Mr. Karasarides incurred a large tax debt for the years 2009-

2014, which he did not pay. (Doc. No. 152, ¶ 38) The IRS initiated collection efforts against Mr.

Karasarides on or about February 23, 2013. (Doc. No. 152, ¶ 41) Mr. DiPietro held an IRS Power

of Attorney and represented Mr. Karasarides administratively before the IRS during its collection

efforts from June 2013 until November 17, 2015, at which point his representation and Power of

Attorney was terminated. After that date, Mr. DiPietro had no agency or authority from the client;

nor was he authorized to speak with the IRS on behalf of Mr. Karasarides regarding his taxes.

(Exhibit A, Pg. 42); (Doc. No. 152, ¶¶ 49, 51)

       The Second Superseding Indictment dated June 23, 2022, and the Third Superseding

Indictment, dated June 29, 2023, charged Mr. DiPietro with Evasion of Payment under

26 U.S.C. § 7201. (Doc. Nos. 87, Count 8; 152, Count 8) The statute of limitations under 26 U.S.C.

§ 7201 is six (6) years. See 26 U.S.C. § 6531(2). Mr. DiPietro’s power of attorney and his ability

to act in a representative capacity on behalf of Mr. Karasarides ended on November 17, 2015.

(Exhibit A, Pg. 42); (Doc. No. 152, ¶¶ 49, 51) Accordingly, the statute of limitation expired on

November 17, 2021. The charge in Count 8, of the Second Superseding Indictment, was returned

approximately seven (7) months beyond the allowable six (6) year statute of limitations under 26

U.S.C. § 7201 and 26 U.S.C. § 6531(2). See 26 U.S.C. § 6531(2); Habig, 390 U.S. at 223.

       Accordingly, Mr. DiPietro respectfully moves this Honorable Court to dismiss, with

prejudice, Count 8, Evasion of Payment under 26 U.S.C. § 7201, in the Third Superseding

Indictment pursuant to Fed. R. Crim. P. 12(b)(3)(B)(v), on the grounds that Count 8 must fail

because it falls outside the statute of limitations applicable to 26 U.S.C. § 7201. See 26 U.S.C. §

6531(2); (Doc. Nos. 87;152).



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   C. Alleged Affirmative Acts do not Extend the Statute of Limitations

       The government may argue that even though part of the alleged conduct falls outside of

the limitations period, all the conduct should be considered because it is part of a larger pattern

constituting a single continuing scheme; thus, the statute of limitations on the conduct outside the

applicable period began to run on the date of the last affirmative act in furtherance of evasion of

payment. Mr. DiPietro submits that no conduct after November 17, 2015, could possibly be

construed as an affirmative act of evasion payment because any alleged conduct after November

17, 2015, was: (1) not an affirmative act; or (2) was not an affirmative act in furtherance of or in

relation to the alleged evasion of payment.

       In United States v. Dandy, the Sixth Circuit decided, in an evasion of assessment case, that

the statute of limitations period begins to run at the last affirmative act of evasion in furtherance

of the crime. See United States v. Dandy, 998 F.2d 1344, 1355-56 (6th Cir. 1993) (holding that

date of last affirmative act of evasion controls statute of limitations for defendant convicted of 26

U.S.C. § 7201 evading assessment), as amended (Aug. 11, 1993), cert. denied, 510 U.S. 1163

(1994); see also, United States v. Edkins, 421 F.App'x 511 (6th Cir. 2010) (finding where

defendant evaded assessment, last affirmative act of evasion within the limitations period started

limitations period for affirmative acts beyond limitations period). In Dandy, the defendant hid

income payments to avoid assessment of income tax that included years inside and years outside

of the six (6) year statute of limitations. See Dandy, 998 F.2d at 1355. Evasion of Assessment

generally involves attempts to prevent the government from determining a taxpayer’s true tax

liability. See United States v. Mal, 942F.2d 682, 687 (9th Cir. 1991).

       The present case is distinguishable from Dandy because “the last affirmative act” was

related to evasion of assessment charges; where the defendant hid income to avoid an income tax



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assessment over the span of many years. The present case involves Mr. Karasarides’ assessed (or

already billed) taxes which were due and owing, but that were not paid by Mr. Karasarides (the

“IRS balance due” at issue here). Mr. DiPietro had no agency or POA/Client relationship

whatsoever after November 15, 2015, regarding this IRS balance due, but nevertheless, the

government may claim that Mr. DiPietro’s last affirmative act pertaining to evasion of this

payment was on or about April 17, 2017. (Doc. No. 152, ¶ 61.M.)

       Evasion of Payment “generally involves conduct designed to place assets beyond the

government’s reach after a tax liability has been assessed”. United States v Mal, 942, F.2d 682,

687 (9th Cir. 1991). Mr. DiPietro submits that November 17, 2015, is the last possible date that any

affirmative act in furtherance of an evasion of payment could have occurred because this is the

date that the IRS Power of Attorney was terminated and that terminated his capacity to represent

Mr. Karasarides in matters before the IRS. (Exhibit A, Pg. 42); (Doc. No. 152, ¶¶ 49, 51)

       As further developed below, Mr. DiPietro contends that: (1) allegedly filing false tax

returns is not an affirmative act; and (2) allegedly filing false tax returns is not an affirmative act

in furtherance or related to any evasion of payment.

           (1) Filing Alleged False Tax Returns is Not an Affirmative Act

       Mr. DiPietro strongly contends that the filing of allegedly false tax returns does not

constitute an affirmative act in furtherance of any evasion of payment because the preparation and

filing of tax returns has absolutely nothing whatsoever to do with the payment of Mr. Karasarides’

tax debt. A tax return does not provide the IRS with a description of what assets are available to

collect from, nor does it show equity in any assets. A tax return simply provides the IRS with an

income statement which evidences taxable income and the corresponding tax amount due for a

particular year. It is not a balance sheet, which would be a disclosure of a taxpayer’s assets and



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liabilities from which the IRS could collect from. Furthermore, a tax return is generally filed

between four (4) and ten (10) months following the last day of the previous tax year. Perhaps

fundamental principles of justice suggest an evasion of payment charge solely against Mr.

Karasarides; the person who accumulated the tax debt and did not pay (which was also charged

herein).

           (2) Filing Alleged False Tax Returns is Not an Affirmative Act in Furtherance of Or
               Related to The Alleged Evasion of Payment

       Several years of tax evasion may be charged in a single count where the “long-term pattern

of conduct directed at the evasion of taxes for those years.” United States v. Shorter, 809 F.2d 54,

56 (U.S. App. D.C. 1987). Here, Mr. DiPietro submits that any alleged filing of false tax returns

is not an affirmative act related to Mr. Karasarides’ accumulated tax debt. They are separate and

distinct actions. Any affirmative act in relation to Mr. DiPietro’s IRS representation of Mr.

Karasarides ended on November 17, 2015, when Mr. DiPietro’s capacity as a representative of Mr.

Karasarides was terminated. Because the filing of alleged false tax returns is not related to Mr.

Karasarides accumulated and unpaid tax debt, the charge in Count 8 necessarily falls outside of

the statute of limitations period and therefore, Count 8 must be dismissed. See United States v.

Weisberg, 2005 U.S. Dist. LEXIS 46540 (finding that the course of conduct must relate to the

payment due).

                                          CONCLUSION

       WHEREFORE, Mr. DiPietro respectfully request that this Honorable Court to dismiss,

with prejudice, Count 8, Evasion of Payment under 26 U.S.C. § 7201, in the Third Superseding

Indictment, pursuant to Fed. R. Crim. P. 12(b)(3)(B)(v), on the grounds that Count 8 must fail

because it does not fall within the statute of limitations applicable to 26 U.S.C. § 7201. See 26




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U.S.C. § 6531(2); (Doc. Nos. 87;152) Mr. DiPietro also requests a hearing on this Motion, if

necessary, at the Court's convenience.


                                                 Respectfully submitted,

                                                 /s/ Robert J. Fedor
                                                 ROBERT J. FEDOR, ESQ., LLC
                                                 Robert J. Fedor (#0042653)
                                                 Benjamin C. Heidinger (#0089379)
                                                 23550 Center Ridge Road, Suite 107
                                                 Westlake, Ohio 44145
                                                 Tel: (440) 250-9709
                                                 Fax: (440) 250-9714
                                                 rjfedor@fedortax.com
                                                 bcheidinger@fedortax.com
                                                 Attorneys for Defendant
                                                 Ronald DiPietro




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Defendant Ronald DiPietro’s Motion to

Dismiss Count 8 of the Third Superseding Indictment was filed by ECF, this 8th day of December

2023. Notice of this filing will be sent to all parties by operation of the Court’s electronic filing

system and parties may access this filing through the Court’s system.



                                                              /s/ Robert J. Fedor
                                                              ROBERT J. FEDOR, ESQ., LLC
                                                              Robert J. Fedor (#0042653)
                                                              Benjamin C. Heidinger (#0089379)




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